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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
WHITE PLAINS DIVISION
 STUDENTS FOR FAIR ADMISSIONS,
                            Plaintiff,
                v.

 THE UNITED STATES MILITARY                             Case No. 7:23-cv-08262-PMH
 ACADEMY AT WEST POINT; THE
 UNITED STATES DEPARTMENT OF
 DEFENSE; LLOYD AUSTIN, in his official
 capacity as Secretary of Defense; CHRISTINE
 WORMUTH, in her official capacity as
 Secretary of the Army; LIEUTENANT
 GENERAL STEVEN GILLAND, in his
 official capacity as Superintendent of the United
 States Military Academy; and LIEUTENANT
 COLONEL RANCE LEE, in his official
 capacity as Director of Admissions for the
 United States Military Academy at West Point,
                                      Defendants.

                         MOTION FOR ADMISSION PRO HAC VICE
        Pursuant to Rule 1.3 of the Local Rules of the United States District Court for the Southern

District of New York, I, Richard Gabe Anderson, hereby move this Court for an Order for admission

to practice pro hac vice to appear as counsel for Plaintiffs in the above-captioned action. I am in good

standing in the bar of Texas, and there are no pending disciplinary proceedings against me in any state

or federal court.

Executed on December 18, 2023                          _________________
                                                       Richard Gabe Anderson
                                                       CONSOVOY MCCARTHY PLLC
                                                       1600 Wilson Blvd., Ste. 700
                                                       Arlington, VA 22209
                                                       (703) 243-9423
                                                       gabe@consovoymccarthy.com
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 capacity as Director of Admissions for the
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                                      Defendants.

                       DECLARATION OF RICHARD GABE ANDERSON


I, Richard Gabe Anderson, declare:
    1. I am an attorney at the law firm Consovoy McCarthy PLLC, and counsel for Plaintiffs in the
       above-captioned action. I am over the age of eighteen and am under no mental disability or
       impairment.

    2. I have never been convicted of a felony.

    3. I have never been censured, suspended, disbarred, or denied admission or readmission by any
       court.

    4. There are no pending disciplinary proceedings against me.


           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
correct.
Executed on December 18, 2023                             _________________
                                                          Richard Gabe Anderson
                                                          CONSOVOY MCCARTHY PLLC
                                                          1600 Wilson Blvd., Ste. 700
                                                          Arlington, VA 22209
                                                          (703) 243-9423
                                                          gabe@consovoymccarthy.com
